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                             UNITED STATES OF AMERICA
                           UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION



UNITED STATES OF AMERICA,           )
                                    )
                  Plaintiff,        )                Case No. 1:04cr232
                                    )
v.                                  )                Honorable Gordon J. Quist
                                    )
MICHAEL RAYMOND SCHULZ,             )
                                    )                ORDER
                  Defendant.        )
____________________________________)



               Defendant appeared before me with appointed counsel on July 5, 2006 for a

preliminary hearing on the petition for warrant or summons for offender under supervision, FED . R.

CRIM . P. 32.1(a)(1). Defendant waived a preliminary examination but was heard on the issue of

detention. I find that defendant has not sustained the burden of demonstrating by clear and

convincing evidence an eligibility for bond, and defendant is remanded to the custody of the

Attorney General pending a final revocation hearing. Accordingly:

               IT IS ORDERED that defendant be and hereby is bound over for further proceedings

before the district judge on the petition for warrant or summons for offender under supervision.

               IT IS FURTHER ORDERED that defendant is committed to the custody of the

Attorney General until further order of the court.


Date: July 6, 2006                                    /s/ Ellen S. Carmody
                                                     ELLEN S. CARMODY
                                                     United States Magistrate Judge
